UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

EMORY G. SNELL, UJUR.,
Plaintiff,
Civil Action No.
Vv. 20-cv-12093-NMG
MD STEVEN DESCOTEAUX, et al.,
Defendants.

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ORDER
GORTON, J.

Now before the Court is plaintiff Emory Snell's “Motion for
Fraud Finding and to Withdraw ‘Relocation’ TRO Application and
request for 3006A Counsel” (Docket #170). For the reasons
stated below, the Court will deny the motion.

The Court writes for the parties and assumes the reader’s
familiarity with this action.

On July 18, 2022, Snell filed a motion for a temporary
restraining order to prevent the defendants from moving him to a
different location in the prison so that roof repairs could be
made to the area in which he was confined. (Docket # 151). On
August 11, 2022, the Court denied the motion. (Docket # 164).
In the present motion, Snell seeks to withdraw the July 18,
2022, motion. Because that motion has already been adjudicated,

the motion to withdraw it is DENIED as moot.
In the present motion Snell also asks the Court to find
that the defendants committed “fraud” by stating in their
Opposition to Snell’s motion to prevent the rehousing that Snell
has “indicate[d] he is receiving ongoing care from Wellpath
through doctors’ visits and surgery,” and that prisoner
transfers are at the discretion of the Commissioner of the
Massachusetts Department of Correction. Neither statement was
material to the Court’s denial of the motion, and the statements
were not false. Therefore, insofar as Snell asks the Court to
find that defense counsel committed fraud on the Court, his
motion is DENIED.

Finally, Snell requests appointment of counsel under the
Criminal Justice Act but that Act does not provide for
appointment of counsel in a non-habeas civil action. See 18
U.S.C. § 3006A(a).

Accordingly, the “Motion for Fraud Finding and to Withdraw
‘Relocation’ TRO Application and request for 3006A Counsel”
(Docket # 170) is DENIED in its entirety.

So ordered.

Nathaniel M. Gorton
United States District Judge

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